
706 S.E.2d 251 (2011)
DARE COUNTY, Town of Nags Head, Town of Southern Shores, Starco Realty &amp; Construction, Inc., Joseph M. Geraghty, Washington County, Currituck County, Hyde County, The Town of Duck, The Town of Southern Shores, Carteret County, The Town of Pine Knoll Shores, The Town of Indian Beach, and The Town of Kill Devil Hills
v.
The NORTH CAROLINA DEPARTMENT OF INSURANCE, Commissioner of Insurance Wayne Goodwin and North Carolina Rate Bureau and
Dare County, Washington County, Currituck County, Hyde County, Carteret County, New Hanover County, Brunswick County, Chowan County, Perquimans County, Tyrrel County, Pamlico County, Pasquotank County, Town of Nags Head, Town of Duck, Town of Southern Shores, Town of Indian Beach, Town of Pine Knoll Shores, Town of Emerald Isle, Town of Kill Devil Hills, Town of Kure Beach, Town of Cedar Point, Town of Hertford, Starco Realty &amp; Construction, Inc., Joseph M. Geraghty
v.
The North Carolina Department of Insurance, Commissioner of Insurance Wayne Goodwin and North Carolina Rate Bureau.
No. 517P10.
Supreme Court of North Carolina.
March 10, 2011.
M. Keith Kapp, Raleigh, for Dare County, et al.
Daniel S. Johnson, Special Deputy Attorney General, for The NC Department of Insurance, et al.
R. Michael Strickland, for NC Rate Bureau.
David W. Boone, Assistant Attorney General, for Dare County.
Upon consideration of the petition filed on the 7th of December 2010 by Petitioners (Towns and Counties) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th of March 2011."
JACKSON, J. recused.
